Case 5:20-cv-02618-JWH-KK Document 113 Filed 08/05/22 Page 1 of 2 Page ID #:1724




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  9
10                        UNITED STATES DISTRICT COURT

11                      CENTRAL DISTRICT OF CALIFORNIA

12                               EASTERN DIVISION

13    MOSES HEREDIA,                            Case No. 5:20-cv-02618-JWH (KKx)
                                                Assigned to Hon. John W. Holcomb
14               Plaintiff,
15                                              MTK GLOBAL USA, LLC’S
           v.                                   RESPONSE TO MINUTE ORDER
16                                              [ECF No. 112]
17    MKT GLOBAL SPORTS
      MANAGEMENT, LLC; MTK
18    GLOBAL USA, LLC; GOLDEN BOY
19    PROMOTIONS, INC.; PAUL D.
      GIBSON; and DANIEL KINAHAN,
20
21               Defendants.

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                                            1                Case No. 5:20-cv-02618-JWH (KKx)
                                                              RESPONSE TO MINUTE ORDER
Case 5:20-cv-02618-JWH-KK Document 113 Filed 08/05/22 Page 2 of 2 Page ID #:1725




  1                          RESPONSE TO MINUTE ORDER (ECF NO. 112)
  2            Defendant MTK GLOBAL USA, LLC (“MTK USA”) and its counsel
  3   appreciate the Court’s flexibility in light of counsel’s inability to appear for the July
  4   29, 2022 hearing regarding Defendant Golden Boy Productions, Inc.’s pending
  5   motions [ECF Nos. 96 & 96].
  6            MTK USA intended to appear for the convenience of the Court in the event the
  7   Court sought to inquire as to scheduling or other issues in the case, and never intended
  8   to take a position regarding the pending motions. Accordingly, MTK USA and its
  9   counsel take no position regarding the motions and thank the Court for the opportunity
10    to be heard.
11                                           Respectfully submitted,
12    Dated: August 5, 2022                  MANCINI SHENK LLP
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14                                           By:              /s/ Michael V. Mancini
                                                    Michael V. Mancini
15                                                  Peter J. Most
                                                    Attorneys for Defendant MTK Global
16                                                  USA, LLC
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                                                2                 Case No. 5:20-cv-02618-JWH (KKx)
                                                                   RESPONSE TO MINUTE ORDER

      4889-5371-2685, v. 1
